Case: 5:23-cr-00140-DCR-MAS       Doc #: 30 Filed: 01/09/24      Page: 1 of 12 - Page
                                      ID#: 80



                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF KENTUCKY
                             CENTRAL DIVISION
                                LEXINGTON

  UNITED STATES OF AMERICA,                   )
                                              )
                                              )
          Plaintiff,                          )
                                              )
  v.                                          )   NO. 5:23-CR-00140-DCR-MAS-2
                                              )
  TEDI HAWKINS,                               )
                                              )
         Defendant.                           )
                                              )
                                              )

                        DETENTION OPINION & ORDER

       Defendant Tedi Hawkins (“Hawkins”) was indicted on one count of conspiracy

to distribute 400 grams or more of fentanyl in violation of 21 U.S.C. §§ 841(a)(1) and

846. [DE 10 (Indictment)]. The United States properly moved for detention under

18 U.S.C. § 3142(f)(1)(C). After considering the record—including testimony, proffer,

and arguments—the Court shall grant the United States’ motion and detain Hawkins

pending trial.

                 I.    FACTUAL AND PROCEDURAL HISTORY

       The Pretrial Services Report (“PSR”) sheds light on Hawkins’ background and

criminal history. She has spent most of her life in Lexington, Kentucky, with a brief

period in Detroit, Michigan, during her adolescence. Before her arrest, Hawkins lived

with her mother, Saleemah Gashaw (“Gashaw”), in Georgetown, Kentucky. She has

close connections with her family, including her siblings and mother.       The PSR


                                          1
Case: 5:23-cr-00140-DCR-MAS        Doc #: 30 Filed: 01/09/24     Page: 2 of 12 - Page
                                       ID#: 81



indicates that Hawkins has had an “off-and-on” relationship with Eugene Fishback

(“Fishback”), her co-defendant in this case.

      Hawkins’ criminal history initially consisted mainly of traffic violations.

However, her record took a serious turn in July 2021, when she was charged with

trafficking fentanyl and cocaine. This case is still active in Fayette Circuit Court.

Drug Enforcement Administration (“DEA”) Special Agent Jason Moore (“SA Moore”)

testified as to his knowledge of the July 2021 charge, stating that it resulted from a

search by the Lexington Police Department (“LPD”). Evidently, in the course of

investigating a homicide, LPD executed a search at Fishback’s residence. Fishback

and Hawkins were present during the search, during which LPD found a safe.

Hawkins had the key to the safe on her person. Inside the safe, LPD discovered

suspected controlled substances.

      SA Moore also testified about the current federal charge against Hawkins.

He noted that Hawkins was Fishback’s frequent companion and that law

enforcement observed them conducting drug transactions together. On December 6,

2023, federal agents executed a search warrant at the Raintree Apartment complex.

Hawkins had a key to this residence and admitted to law enforcement that she lived

there. During the search, agents found packaged marijuana, scales, and plastic bags.

These bags, together, contained around 200 suspected fentanyl pills. The pills were

blue with “M” and “30” markings.

      In his testimony, SA Moore connected these pills to Fishback’s larger drug

operation. In October 2023, a search at the Stoney Brook apartment complex (which



                                          2
Case: 5:23-cr-00140-DCR-MAS          Doc #: 30 Filed: 01/09/24     Page: 3 of 12 - Page
                                         ID#: 82



neighbors the Raintree Apartment complex) led to the seizure of 1.6 pounds of

fentanyl. Photographs and mail matter suggested that Fishback and Hawkins lived

at this apartment. On the same day as the Raintree Apartment search on December

6, 2023, agents searched Fishback’s vehicle. They found several hundred suspected

fentanyl pills, matching those from the apartment. Following the search, a federal

grand jury indicted Fishback and Hawkins, and an arrest warrant was issued.

Hawkins ultimately turned herself into SA Moore.

                             II.   LEGAL FRAMEWORK

        Given the charges, a detention presumption arises under the Bail Reform Act,

18 U.S.C. § 3141, et seq., (“BRA”) regarding both nonappearance and danger risk.

18 U.S.C. § 3142(e)(3)(A).     Accordingly, a defendant carries a “burden of production”

to overcome the presumption by offering “at least some evidence” that he is neither

at risk of nonappearance nor endangering the community. United States v. Stone,

608 F.3d 939, 945 (6th Cir. 2010). The production burden “is not heavy,” and the

Government retains the ultimate burden of persuasion. Id. If the defendant fails to

rebut the presumption, he must be detained. Even if the defendant rebuts the

presumption, the presumption remains a factor in determining detention. Id. (“The

presumption remains as a factor because it . . . reflects Congress’s substantive

judgment that particular classes of offenders should ordinarily be detained prior to

trial.”).

        However, if a defendant rebuts the presumption of detention, the burden shifts

back to the United States to persuade the Court that detention is nevertheless

warranted. Detention, based on danger, must rest on facts supported by clear and
                                             3
Case: 5:23-cr-00140-DCR-MAS          Doc #: 30 Filed: 01/09/24            Page: 4 of 12 - Page
                                         ID#: 83



convincing evidence. 18 U.S.C. § 3142(f).              A flight-based (or, more accurately,

nonappearance-based) detention decision must rest on facts supported by a

preponderance of evidence. United States v. Patriarca, 948 F.2d 789, 793 (1st Cir.

1991); United States v. Curry, No. 6:06-82-DCR, 2006 U.S. Dist. LEXIS 49661, 2006

WL 2037406, at *6 (E.D. Ky. Jul. 18, 2006). Further, almost any conditional release

ultimately depends on a court’s assessment of a defendant’s good faith intentions and

predicted compliance with the conditions imposed. See United States v. Tortora, 922

F.2d 880, 887 (1st Cir. 1990) (evaluating predicted good faith compliance as critical

release component).

      Evidence    rules   do   not    apply       in    the   detention     hearing   context.

18 U.S.C. § 3142(f). The hearing is informal, and the Court may consider a wide

range of proof, weighing the evidentiary reliability and accuracy. See, e.g.,

United States v. Webb, 149 F.3d 1185 (Table), No. 98-1291 [published in full-text

format at 1998 U.S. App. LEXIS 13553], 1998 WL 381686, at *1 (6th Cir. June 22,

1998). The nature and quality of proof impacts its probative value and weight in the

detention calculus. The § 3142(g) factors guide the analysis.1



1 The subsection directs the Court to balance the following:


      (1) the nature and circumstances of the offense charged, including
          whether the offense is a crime of violence, a violation of section 1591,
          a Federal crime of terrorism, or involves a minor victim or a
          controlled substance, firearm, explosive, or destructive device;

      (2) the weight of the evidence against the person;

      (3) the history and characteristics of the person, including—


                                              4
Case: 5:23-cr-00140-DCR-MAS        Doc #: 30 Filed: 01/09/24       Page: 5 of 12 - Page
                                       ID#: 84



                                III.   ANALYSIS

      The Court conducted a detention hearing and afforded both sides all procedural

rights outlined in the BRA. Below, the Court shall consider all testimony, proffer,

and arguments from the parties to assess whether Hawkins has overcome the

presumption of detention and, if so, whether the United States met its burden of

persuasion that the § 3142 factors demand detention.

A.    RISK OF NONAPPEARANCE

      As a threshold matter, the Court finds that Hawkins overcame the

presumption of detention regarding her risk of nonappearance. Her mother, Gashaw,

testified that Hawkins lived with her before the arrest and would continue to do so if

released. Gashaw’s provision of potential employment for Hawkins at her workplace


             (A) the person’s character, physical and mental condition, family
             ties, employment, financial resources, length of residence in the
             community, community ties, past conduct, history relating to
             drug or alcohol abuse, criminal history, and record concerning
             appearance at court proceedings; and

             (B) whether, at the time of the current offense or arrest, the
             person was on probation, on parole, or on other release pending
             trial, sentencing, appeal, or completion of sentence for an offense
             under Federal, State, or local law; and

      (4) the nature and seriousness of the danger to any person or the
      community that would be posed by the person’s release. In considering
      the conditions of release described in subsection (c)(1)(B)(xi) or
      (c)(1)(B)(xii) of this section, the judicial officer may upon his own motion,
      or shall upon the motion of the Government, conduct an inquiry into the
      source of the property to be designated for potential forfeiture or offered
      as collateral to secure a bond, and shall decline to accept the designation,
      or the use as collateral, of property that, because of its source, will not
      reasonably assure the appearance of the person as required.

18 U.S.C. § 3142(g).
                                           5
Case: 5:23-cr-00140-DCR-MAS        Doc #: 30 Filed: 01/09/24      Page: 6 of 12 - Page
                                       ID#: 85



aimed to mitigate the risk further. These assurances appeared to meet the “burden

of production” to counter the presumption of detention. Stone, 608 F.3d at 945.

      The Court considers, however, Hawkins’ history of failing to appear in other

court proceedings. For instance, September 2023, a warrant was issued in Scott

County due to her failure to appear at a hearing related to charges of careless driving

and operating a vehicle under the influence of drugs or alcohol. In Knox County,

Hawkins likewise failed to appear for an arraignment on May 1, 2023 on charges of

speeding and reckless driving. Courts do not always weigh failure to appear for

hearings related to traffic offenses heavily in favor of detention. See United States v.

Munoz-Hernandez, No. CR 12-0128 JB, 2012 WL 5476892, at *11 (D. N.M. Nov. 5,

2012) (“The Court can see that it may be more likely that a defendant would forget

about a court date for a traffic violation than for a felony charge, for which the

defendant faces a minimum of ten years’ imprisonment.”). However, Hawkins’ traffic-

related offenses, including reckless driving and driving under the influence of alcohol

or drugs, are more severe than mere speeding or failure to maintain an operator’s

license. Given the gravity of these offenses, the Court views her history of failing to

comply with court obligations, especially these serious traffic offenses, as weighing in

favor of detention.

      During the detention hearing, the United States also raised doubts about the

credibility of Gashaw’s testimony, particularly concerning Hawkins’ living situation

before her arrest. Gashaw conceded that Hawkins only intermittently resided with

her, spending roughly 3–4 nights a week at her home and the rest with other family



                                           6
Case: 5:23-cr-00140-DCR-MAS        Doc #: 30 Filed: 01/09/24     Page: 7 of 12 - Page
                                       ID#: 86



members. Gashaw also claimed that Fishback was her daughter’s ex-boyfriend and

that they no longer had any association. Contrarily, the United States posited that

Hawkins might have been living with Fishback.

      While the United States did not provide specific evidence or testimony

confirming Hawkins’ exact whereabouts before entering federal custody, Gashaw’s

statements significantly diminished her trustworthiness.        Gashaw admitted to

facilitating communication between Hawkins and Fishback after their arrests by

arranging a three-way call. This action substantially erodes the Court’s confidence

in Gashaw as a potential mitigating influence on Hawkins’ risk of nonappearance or

a guarantor of her compliance with court orders.       It portrays Gashaw not as a

stabilizing force but as someone who may inadvertently or deliberately facilitate

Hawkins’ noncompliance or evasion of legal responsibilities.

      Considering these factors, the Court concludes that the government has

sufficiently demonstrated by preponderant evidence that Hawkins is at risk of

nonappearance. The Court finds it impracticable to devise conditions that would

adequately mitigate the risk of her nonappearance since condition effectiveness

inherently hinges on a defendant’s predicted good faith compliance. See United States

v. Tortora, 922 F.2d 880, 887 (1st Cir. 1990) (characterizing predicted compliance as

critical release component); United States v. Hir, 517 F.3d 1081, 1092 (9th Cir. 2008)

(noting the “critical flaw” in a set of proposed release conditions: “In order to be

effective, they depend on [the defendant’s] good faith compliance”); id. at 1093 n.13

(observing that, barring a “replica detention facilit[y],” the success of any condition



                                          7
Case: 5:23-cr-00140-DCR-MAS        Doc #: 30 Filed: 01/09/24      Page: 8 of 12 - Page
                                       ID#: 87



combination necessarily “hinge[s] on [the defendant’s] good faith compliance”).

Hawkins’ history of noncompliance, including being under federal indictment while

on bond for state charges, is a strong predictor for noncompliance with pretrial release

conditions. Thus, the Court finds no conditions to mitigate Hawkins’ nonappearance

risk.

B.      DANGER TO THE COMMUNITY

        Though it has already determined that pretrial detention is appropriate due to

Hawkins’ risk of nonappearance, the Court examines the danger-based detention for

thoroughness.    First, the Court finds that Hawkins has satisfied her burden of

production with respect to overcoming the presumption of detention as it relates to

danger, based on testimony offered by Gashaw that she would ensure Hawkins’

compliance with the terms of pretrial release and monitor her at home and work.

Despite overcoming the presumption, the Court concludes that the United States has

demonstrated by clear and convincing evidence that Hawkins poses a significant

danger to the community.

        1.    Nature and Circumstances of the Offense

        In assessing “the nature and circumstances of the offense charged” as

mandated by 18 U.S.C. § 3142(g)(1), the Court notes that Hawkins faces a serious

drug-related conspiracy charge. [DE 10]. Specifically, Hawkins has been charged

with conspiracy to distribute fentanyl. Drug distribution, especially of substances as

potent and dangerous as fentanyl, is a particular risk danger to society under the

BRA.     United States v. Hare, 873 F.2d 796, 798–99 (5th Cir. 1989); see also United

States v. Bucio, No. CR 5:17-055-DCR, 2019 WL 4397334, at *3 (E.D. Ky. Sept. 13,
                                           8
Case: 5:23-cr-00140-DCR-MAS        Doc #: 30 Filed: 01/09/24       Page: 9 of 12 - Page
                                       ID#: 88



2019) (recognizing that “the nature and circumstances of the offense in issue

weigh[ed] in favor of” detention where “they ar[o]se in the context of a large drug

trafficking scheme”). Here, testimony and proffer all indicate that Hawkins played

an important role in the conspiracy. While Hawkins’ attorney, by proffer, sought to

downplay her involvement in the conspiracy, the evidence offered at the detention

hearing suggests otherwise.      SA Moore testified that surveillance showed that

Hawkins was an active participant with Fishback during drug transactions. Also, SA

Moore testified that Hawkins had a key on her person that unlocked a safe containing

controlled substances. These circumstances suggest that her involvement in the

alleged conspiracy was not negligible. In sum, this factor weighs in favor of detention.

      2.     Weight of the Dangerousness Evidence

      Next, the Court evaluates “the weight of the evidence against the person.”

18 U.S.C. § 3142(g)(2). This consideration pertains to the evidence of dangerousness,

not guilt. For the reasons discussed above, the Court finds that the evidence of

dangerousness weighs heavily in favor of detention. Hawkins is alleged to have

conspired with Fishback while operating a drug trafficking network from various

residences they occupied. Central to this operation is the trafficking of fentanyl, a

substance notoriously linked to a high number of near-fatal overdoses and posing a

significant threat to community safety. United States v. Tolbert, 2017 WL 6003075,

at *5 (E.D. Tenn. Dec. 4, 2017) (citing Stone, 608 F.3d at 948).

      The Court is particularly concerned about the specific type of fentanyl involved

in this case. SA Moore highlighted the alarming potency of this fentanyl—estimated



                                           9
Case: 5:23-cr-00140-DCR-MAS       Doc #: 30 Filed: 01/09/24     Page: 10 of 12 - Page
                                      ID#: 89



to be 50 times stronger than pharmaceutical-grade oxycodone. Coupled with its

potency, the fentanyl is in pill form, bearing “M” and “30” markings, consistent with

the appearance of oxycodone pills. Thus, the gravity of danger intensifies due to the

deceptive manner in which this fentanyl is presented: it is pressed, dyed, and

stamped to resemble oxycodone. According to SA Moore, this deception significantly

increases the risk of overdoses, as individuals using the substance might be under

the mistaken belief that they are using a far less potent drug. The resultant increase

in overdoses and consequent fatalities within the community cannot be overstated.

The Court, therefore, finds that the dangerousness associated with the trafficking

charges significantly weighs in favor of detention under the BRA.

      3.     History and Characteristics

      Under the framework of 18 U.S.C. § 3142(g)(3), the Court conducts a thorough

evaluation of Hawkins’ history and characteristics, considering her physical and

mental health, family connections, employment, extensive criminal record, and

history of substance use. Considering all the evidence presented, this factor weighs

in favor of detention.

      Hawkins did not report a substance use disorder. However, as noted in the

PSR, she admitted to consuming alcohol daily and using cannabinoids weekly since

the age of 14.   Testimony from her mother and proffer indicate strong familial

connections, particularly with her mother and at least one sibling. Yet, these

apparent bonds do not alleviate the Court’s concerns regarding her criminal history.




                                         10
Case: 5:23-cr-00140-DCR-MAS       Doc #: 30 Filed: 01/09/24     Page: 11 of 12 - Page
                                      ID#: 90



It is particularly troubling that the behavior leading to the federal indictment

occurred while Hawkins was out on state bond for charges of similar gravity.

      Moreover, the Court finds it alarming that even after her indictment, Hawkins

involved her mother in maintaining communication with Fishback, her co-defendant.

This involvement suggests that her close family ties are not a restraining influence

and do not appear to deter her from participating in drug trafficking activities. In

light of these considerations, the Court concludes that while her individual

characteristics might not indicate a danger to the community, her actions and conduct

strongly suggest otherwise. Her propensity to reengage in drug trafficking upon

release is a significant concern, indicating a potential threat to community safety.

This factor weighs in favor of detention.

      4.     Nature and Seriousness of the Danger Risk

      Finally, under 18 U.S.C. § 3142(g)(4), the Court considers “the nature and

seriousness of the danger to any person or the community.” As SA Moore testified,

law enforcement has recovered hundreds of fentanyl and suspected fentanyl pills in

the course of its investigation, including in places in which Hawkins resided and in

the car of her alleged co-conspirator. Even more alarming, as discussed above, is that

these pills are disguised to look like pharmaceutical-grade oxycodone. Trafficking

fentanyl by itself poses a danger, but the risk is exponential when the drug is

intentionally designed to appear like far less potent substance, leading to fatal or

near-fatal overdoses. This factor weighs heavily in favor of detention.




                                            11
Case: 5:23-cr-00140-DCR-MAS       Doc #: 30 Filed: 01/09/24   Page: 12 of 12 - Page
                                      ID#: 91



      The Court finds that Hawkins presents a danger to the community that cannot

be mitigated by conditions this Court can impose. See, e.g., United States v. Nova,

No. CR 16-060-02 S, 2016 WL 6471205, at *2 (D.R.I. Nov. 1, 2016) (finding that

electronic monitoring and home detention conditions would not be effective to

mitigate danger where the defendant could easily participate in the charged drug

distribution scheme from his home). Accordingly, the BRA requires that Hawkins be

detained pending trial based on her potential danger to the community.

                            IV.    CONCLUSION

      Ultimately, the Court finds that the United States proved by a preponderance

of the evidence that no conditions could ensure Hawkins’ future appearance at Court

proceedings. Separate and apart from Hawkins’ risk of nonappearance, the Court

finds that the Government has shown—by clear and convincing evidence—that no

condition or combination of conditions could reasonably assure community safety.

Accordingly, the Court GRANTS the United States’ oral detention motion. As the

BRA mandates in this case, Hawkins shall remain in custody pending trial.

      The parties may appeal this Order under the terms of 18 U.S.C. § 3145(a).

      Entered this 9th of January, 2024.




                                           12
